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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 18-60839-CIV-ALTONAGA/Seltzer

  CERTAIN UNDERWRITERS AT LLOYD’S,
  LONDON, SYNDICATES 2623/623,

         Plaintiff,
  v.

  SOLUTIONS RECOVERY CENTER,
  LLC, et al.,

        Defendants.
  _____________________________________/

                             ORDER SCHEDULING MEDIATION

         The mediation conference in this matter shall be held with Ronald F. Shapiro, Esq. on

  November 20, 2018 at 9:00 a.m. at 401 East Las Olas Boulevard, Suite 1220, in Fort Lauderdale,

  Florida. The parties are reminded that a report of their mediation must be filed no later than

  November 26, 2018.

         DONE AND ORDERED in Miami, Florida, this 12th day of June, 2018.



                                                       _________________________________
                                                       CECILIA M. ALTONAGA
                                                       UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
